
20 N.Y.2d 797 (1967)
In the Matter of Chester T. Burton, Appellant,
v.
Frederick M. Marshall et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 18, 1967.
Decided September 28, 1967.
Leonard F. Walentynowicz for motion.
Michael F. Dillon, District Attorney (Barbara M. Sims of counsel), opposed.
Motion granted and order resettled to include the following: Cross motion for leave to appeal denied upon the ground that, in the circumstances of this case, petitioner is not entitled to a writ prohibiting his prosecution on the indictment since he has a complete remedy by appeal from a judgment of conviction, if there be one. The Court of Appeals did not on its original motion, nor does it now, reach petitioner's claim that his constitutional rights were violated. The constitutional question may be raised upon an appeal from a judgment of conviction, if there be one.
